Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 1 of 62

oo

Fill in this information to identify your case: come
| en EAR
United States Bankruptcy Court for the: ; i 2 D

WESTERN DISTRICT OF OKLAHOMA

 

Case number (if known)

 

Chapter you are filing under: 1018 OC; ~ | e , e 39
C1 Chapter 7 be .
C1 Chapter 11
(1) Chapter 12

Ml Chapter 13 “oO ‘Chackifthis an
‘ amended filing

   
 

 

 

 

Official Form 101 -
Voluntary Petition for Individuals Filing for Bankruptcy 4217

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married coupie may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question. se . . .

Identify Yourself

“About Debtor 1:

 

 

1. Your full name

Write the name that ison. Alexander

 

 

 

 

 

your government-issued ==“ First name io! First name

picture identification (for :

example, your driver's Louis .

license or passport), Middle name “Middle name
- Bring your picture Bednar

 

identification to your
meeting with the trustee.

 

Last name and Suffix (Sr., Jr., Il, Ill) aa Last name and Suffix (Sr., Jr., Il, tl)

 

2. All other names you have
used in the last 8 years

{nclude your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-3709
Individual Taxpayer
Identification number
(ITIN) ,

 

 

Official Form 104 : Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case: 19-14021 Doc:1

veo 1 Alexander LOUIS Bbeanar

Filed: 10/01/19

Page: 2 of 62

wae NulE WaAnumy

 

 

 

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

HH | have not used any business name or EINs.

C1 | have not used any business name or EINs.

 

Business name(s)

Business name(s)

 

EINs

EINs

 

5. Where you live

3221 NW 192nd Terrace
Edmond, OK 73012
Number, Street, City, State & ZIP Code

Oklahoma
County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

13919-B North May # 217
Oklahoma City, OK 73134
Number, P.O. Box, Street, City, State & ZIP Code

 
  
     
   
 

If Debtor 2 lives at a different address:

Number, Street, City, State & ZIP Code

County
If Debtor 2's mailing address is different from yours, fill it

in here. Note that the court will send any notices to this
mailing address.

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

Mi sOver the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

O_thave anotherreason.  -
Explain. (See 28 U.S.C. § 1408.)

   
 

Check one:

O Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

| have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 

 
——— DSDIO’ 7

Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 3 of 62

Alexander Louls Beanar GUase Tuller (f Known)

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under O Chapter 7

(J Chapter 11

(J Chapter 12

M@ Chapter 13

8. Howyouwill pay thefee .— Iwill pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

( __sIneed to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

1) __ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for ONo.

bankruptcy within the

last 8 years? ves.

Western District of
District Oklahoma When 6/06/19 Case number 19-12312
District : When Case number
District When Case number
10. Are any bankruptcy HINo
cases pending or being
filed byaspouse whois [] Yes.
_not filing this case with

you, or by a business

partner, or by an

affiliate? ‘
Debtor . Relationship to you
District When : Case number, if known
Debtor Relationship to you
District . When Case number, if known

11. Do you rent your 1 No. Go to line 12.
residence? ‘ a ee .
Hl ves. Has your landlord obtained an eviction judgment against you?

Mm sCN®. Go to line 12.

oO Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy . page 3

 
———~ Debtor 1

Case: 19-14021 Doc:1 Filed: 10/01/19 Page: 4 of 62

Alexander Louis Bednar Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

12.

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition.

0D No. Go to Part 4.

Hl yes. Name and location of business

Bednar Consulting
Name of business, if any

 

13919-B North May Ave #217

Oklahoma City, OK 73134

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

H None of the above

 

OoOagd

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business

debtor?

_ For a definition of smailf

business debtor, see 11
U.S.C. § 101(51D).

if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it can set appropriate
deadlines. |f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

BINo. 1am not filing under Chapter 11.

CI No. { am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code. .

O ves: | am filirig under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention? .

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

i No.

C1 Yes.
What is the hazard?

 

lf immediate attention is
needed, why is it needed?

 

Where is the property?

Number, Street, City, State & Zip Code

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor 1

Case: 19-14021

Doc: 1

Alexander Louis Bednar

Explain Your Efforts to Receive a Briefing About Credit Counseling

Filed: 10/01/19

Page: 5 of 62

Case number (if known)

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. !f you cannot do
SO, you are not eligible to.
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

   

 

 

“You must check one:

 

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must

_ Still receive a briefing within 30 days after you file.

You must file a certificate from the approved

agency, along with a copy of the payment plan you -

developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

lam not required to receive a briefing about
credit counseling because of:

© __sIncapacity.

| have a mental illness or a mental deficiency

that makes me incapable of realizing or
making rational decisions about finances.

 _~sCODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after
reasonably tried to do so.

O Active duty.
| am currently on active military duty ina
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

 

You must check one:

  

 

 

 

 

  

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of

completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of:

D_sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_séODisability.

*. My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

O #éActive duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver

_ Of credit counseling with the court.

 

Official Form 101

Voluntary Petition for. Individuals Filing for Bankruptcy

page 5

 
Debtor1 Alexander Louis Bednar

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Case number (if known)

Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

~ LINo. Go to line 16b.

ll Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

No. Go to line 16c.

C1 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
_ Chapter 7?

Do you estimate that
after any exempt
property is excluded and

HNo. | am not filing under Chapter 7. Go to line 18.

! am filing under Chapter 7. Do you estimate thatafter any exempt property is excluded and administrative expenses

O Yes.
, are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses - [LINo
are paid that funds will
‘be available for | 0 Yes
distribution to unsecured
creditors?
- 18. How many Creditorsdo gy 4-49 DO 1,000-5,000 1 25,001-50,000
yougstimate thatyou 71 50.99 7 5001-10,000 1 50,001-100,000
: CO 100-199 CO 10,001-25,000 CI More than100,000
C 200-999 ,
19. How much do you D1 $0 - $50,000 Dd $1,000,001 - $10 million 1 $500,000,001 - $4 billion

estimate your assets to
be worth?

F $50,001 - $100,000:
HI $100,001 - $500,000
C1 $500,001 - $4 million

O $10,000,001 - $50 million
0 $50,000,001 - $100 million
DO $100,000,001 - $500 million

- 11 $1,000,000,001 - $10 billion

C1 $10,000,000,004 - $50 billion

_ O More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

O $0.- $50,000

OO $50,001 - $100,000
CO $100,001 - $500,000
Ml $500,001 - $4 million

C1 $1,000,001 - $10 million .
C1 $10,000,001 - $50 million
0 $50,000,001 - $100 million
D $100,000,001 - $500 million

O $500,000,001 - $4 billion

‘O $1,000,000,001 - $10 billion

O $10,000,000,001 - $50 billion
OD More than $50 billion

 

we Sign Below

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

if! have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

Ifno attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $750,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571. /

!s! Alexander Louis Bednar

4

 

  

 

 

Alexander Louis Bednar - Signature of Debtor 2
Signature of Debtor? ,
Ss. Preadn ~ 30
Executed on Jee}: 2019 Executed on
MM /DD/YYYY MM /DD/YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
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Debtor1  / { | vod

First Name ( Middle Name

~~

hw (S (hod pro Case number (if known),

Last Nante7

 

For you If you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

 

 

Official Form 101

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did nat file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt:
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is-filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

Q) No

[Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

Q) No

es

ae pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

(J Yes. Name of Person :
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119)

By signing here, | acknowledge that! understand the risks involved in filing without an attorney. |
have read and understood this notice, and! am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handie the case.

 

 

 

x
re of Debtor 4 Signature of Debtor 2
Date S2O” [ q Date
, MM/DD /YYYY ‘ MM/ DD /YYYY
Contact phone Contact phone
Cell phone Coy G2r0 do Zo Cell phone

 

1’
Email address bedvarcansalt aga. |: Pera address

Voluntary Petition for Individuals Filing for Bankruptcy page 8

 
Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 8 of 62

Fill in this information to identify your case:
Debtor 1 Alexander Louis Bednar
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

- Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 42/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
_ your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

 

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule AVB.........scsssssssessssceecetsseecessosessessesnesassssesvstsasercecenesotecearesteeateeneraees $ 85,000.00
1b. Copy line 62, Total personal property, from SCHEdUIG AVB.u.sssssccsssccessescocssessssseesssseessesseeessssisessssssessesessnscessneesnssnee . $ 191,650.00
1c. Copy line 63, Total of all property on Schedule A/B.......... eee sesseesssccnssesnscrenssetenssenseanecunanes seaseeneassesessseesseeesneeees $ 276,650.00 .

GEE Summarize Your Liabilities

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......sssesssssessseee $ 179,500.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from tine 6j of Schedule E/F..........seseseeees $ 411,098.59
Your total liabilities | $ 590,598.59

 

 

 

Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061) .
Copy your combined monthly income from line 12 Of Schedule |......eccscsscecscerseesessecsessessesecsscorsssssaseentaersrsessnstees $ 4,960.00

5. Schedule J: Your Expenses (Official Form 106d) ‘ . ,
Copy your monthly expenses from line 22 Of SCHECUIE Ju... .ecesececeececeseetseeessscsersaessssestseseeesssecsaseneneaascens $ _ «2165.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M Yes
7. What kind of debt do you have?

mm Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with. your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain-Statistical Information page 1 of 2

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Debtor1 Alexander Louis Bednar Case number (if known)

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form : 6.000.00
422A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ ’ .

 

 

 

9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) . $ 179,500.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00 —
9d. Student loans. (Copy line 6f.) : : $ 168,155.00
9e. ‘Obligations arising out of a separation agreement or divorce that you did not report as .
priority claims. (Copy line 6g.) $9.00
Of. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ . ~ 0.00
9g. Total. Add lines 9a through 9f. $ 347,655.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

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Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 10 of 62

Fill in this information to identify your case and this filing:

Debtor 1 ' Alexander Louis Bednar
First Name Middle Name Last Name

 

Debtor 2 .
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 

Case number . . ~ 1 Check if this is an
: amended filing

 

 

Official Form 106A/B .
Schedule A/B: Property 12145

In each category, separately list and describe items. List an asset only once.. If an asset fits in more than one category, list the asset in the category where you:
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question. , .

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

1 No. Go to Part 2.

— Yes. Where is the property?

 

11 What is the property? Check all that apply

 

 

 

 

 

 

 

3514 Garden Place I Single-family home Do not dédiict secured’ claims or exemptions: Put: . :
Street address, if available, or other description : ate as “the amount of any.secured claims on Schedule D>:
Duplex or multi-unit buildin, , f ANY Peeled Calms | ae
Oo P . ng . Creditors Who Have Claims Secured by. Property. . *
oO Condominium or cooperative : ot De : Dog i,
(0 Manufactured or mobile home
. Current value of the Current value of the
Oklahoma City OK 73112-0000 0 Land entire property? portion you own?
City : State ZIP Code Hi Investment property $85,000.00 $85,000.00
imesh :
O Timeshare Describe the nature of your ownership interest
O Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
HZ Debtor 4 only Life Estate
Oklahoma C1 bebtor 2 only
County
LH Debtor 1 and Debtor 2 only oO Check if this is community property
Oo At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Tennant has life estate interest in property.

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here. => $85,000.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

Official Form 106A/B . Schedule A/B: Property . page 1
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Debtor1 Alexander Louis Bednar Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O No
Hi Yes
3.4 Make: Hummer Who has an interest in the property? Check one
Model: H2 Ml pebtor1 only Creditors. Who Have’ Claims: ‘Secured by:Propetty::
Yer: 2006 O Debtor 2 only Current value of the Current value of the
Approximate mileage: 240000 O Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: (1 Atleast one of the debtors and another
curently not running
Vin # 5GRGN23U66H102339 CO check if this is community property $3,000.00 $3,000.00
(see instructions)
Make: ‘ ; : _ Do'iot deduct secure Or nee
3.2 "Make: CADI Who has an interest in the property? Check one “the amount of any secured claims on Sche vhs ED
Model: 7533 i Debtor 4 only Creditors Who Have ‘Claims Secured by Property.
Year. A920 1 Debtor 2 only Current value ofthe —° Current value of the
Approximate mileage: 36000 C1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: CU Atleast one of the debtors and another
VIN # 5275188436 Not running
U1 Check if this is community property $2,500.00 $2,500.00
(see instructions)

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels; snowmobiles, motorcycle accessories

No
0 Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for $5,500.00
.pages you have attached for Part 2. Write that number here => y9UU,

 

 

 

Describe Your Personal and Household Items:

:Do: you ‘own or: F have: any. legal or F equitable: interest in any: of the Following. items? (eee Current value ofthe:
: “ eProp ortion-youown? © :
‘Do not-deduct:secured..

_ Glaims:or exémiptions: =

 

 

6. Household ‘goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
0 No

Ml Yes. Describe...

 

[misc household items $1,200.00

 

7. Electronics
Examples: Televisions and radios: audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
ONo

Mi Yes. Describe...

 

| 2-tv's -cell phone, 2-pc | $250.00

 

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles, .
DF No

Ml Yes. Describe.....

Official Form 106A/B Schedule A/B: Property page 2
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Debtor1 Alexander Louis Bednar : Case number (if known)

 

[ various art painting | $7,500.00

9. Equipment for sports and hobbies / ;
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
0 No

Wl Yes. Describe.....

 

| Scuba equipment and tennis rackets $600.00

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Mi No .
Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CNo /
Ml Yes. Describe...

 

| misc clothing $750.00

 

12. Jewelry / .
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

DC No
Ml Yes. Describe.....

 

[Antique watch ~ oe $500.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

MNo
C1 Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
HENo : ,

O Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here $10,800.00

 

 

 

 

Describe Your Financial Assets
‘Do'you ownor’have-any: legal or equitabie interest in:any: of the following? : BR. Sah Current value-of the.)
: . : . - : . ma : . mo : portion you own? 2 :

  

 

 

Do not deduct secured...
.... .alaims.or exemptions.

 

16. Cash , .
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

Ne)

Cash on hand $200.00

 

Official Form 106A/B Schedule A/B: Property , _ page3
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Debtor1 Alexander Louis Bednar . Case number (if known)

17. Deposits of money . ; a . .
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
ONo

itution name:
HE ves Institut

17.1. checking IOLTA Bank Account Bank of America , $50.00

 

 

Bank of America Acct ending 3423

17.2. checking currently overdrawn . $0.00

 

 

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
HNo . ,
OvYes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture ‘

ONo
Ml Yes. Give specific information about them................. .
Name of entity: % of ownership:

Ownership interest in A.L. Bednar, LLC, #
XX-XXXXXXX 100 % Unknown

 

 

Ownership interest in ALB Holdings, LLC #
XX-XXXXXXX (LLC has ownership on real
properety list as 3514 Garden Place, OKC 73112 100 % Unknown

 

 

Ownership in Bednar Consulting, LLC

#XX-XXXXXXX which itself owns a 100%

ownership interest Falcone's Bistro, LLC, F/K/A 5 ;
Puglia Brands, LLC 100 % Unknown

 

 

ALB Consulting LLC ,
ID # XX-XXXXXXX 100 % Unknown

 

 

Art For Interiors, LLC

EIN: XX-XXXXXXX 100 % Unknown

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HNo

0 Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts | .
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
HNno ,

0 Yes. List each account separately. ;
Type of account: Institution name:

Official Form 106A/B : Schedule A/B: Property page 4
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Debtor1 Alexander Louis Bednar . Case number (if known)

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

Mi No .
"DDS. cecsssecssecsseseoeee : Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No :
OI Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
DD YeS.eeccesccecss institution name and description. Separately file the records of any interests.11 U.S.C. § 524(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

ONo

Ml Yes. Give specific information about them...

 

Grandparents Trust containing oil income of approx. 650.00 per :
year. . Unknown

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

[1 No

Ml Yes. Give specific information about them...

 

[Internet domain name | Unknown

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive ficenses, cooperative association holdings, liquor licenses, professional licenses

ONo

IR Yes. Give specific information about them...

 

| Trade Mark | Unknown

 

    

‘Money Gr property owed to'yolr? e ogee ioe snntntayaggeomnng 0 tong, torgager

 

 

28. Tax refunds owed to you
HENo

0 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support .
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HNo

C1 Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Hi No
0 Yes. Give specific information..
31. Interests in insurance policies

Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
HNo

Official Form 106A/B Schedule A/B: Property page 5
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Debtor1 Alexander Louis Bednar Case number (if known)

0 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
: value:

32. Any interest in property that is due you from someone who has died :
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property ‘because
someone has died.

BNo
0 Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Ono.

Mf Yes. Describe each claim.........

 

Current litigation against lenders and individual i Nes hase “ff Vr.

foreclosure action. ani I< 7 diggs i ml! ue

5 possible cases @ivl CM Agen & sn ill us Unknown
oe in ar we

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
MI No .
0 Yes. Describe each claim.........

 

 

 

35. Any financial assets you did not already list
D1 No

Wi Yes. Give specific information.

 

Equibiliable interest in property at date of chapter 7
discharge (Spet. 2015)
Property locatede at 15721 Via Bella, Edmond, OK 73013 $175,000.00

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached.
for Part 4. Write that number here. $175,350.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
a No. Go to Part 6.

D1 Yes. Go to line 38.

ictsca Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Goto Part 7.
0 Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

HNo
0 Yes. Give specific information.........

 

54. Add the dollar value of all of your entries from Part 7. Write that NUMbEr HELE ..ucssssssssewssesseeressseesssere $0.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 6
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t

 
Case: 19-14021 Doc:1

Debtor1 Alexander Louis Bednar

fparte: ERG the Totals of Each Part of this Form

55.
56.
57,
58.
59.
60.
61.

62.

63.

Official Form 106A/B

Part 1: Total real estate, line 2

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Case number (if known)

 

Part 2: Total vehicles, line 5

Part 3: Total personal and household items, line 15

Part 4: Total financial assets, line 36

Part 5: Total business-related property, line 45

Part 6: Total farm- and fishing-related property, line 52

Part 7: Total other property not listed, line 54 +

Total personal property. Add lines 56 through 61...

Total of all property on Schedule A/B. Add line 55 + line 62

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$10,800.00
$0.00

$0.00
$191,650.00

$5,500.00
$175,350.00

$0.00

Schedule A/B: Property

Copy personal property total

$85,000.00

$191,650.00

 

 

$276,650.00

 

 

page 7
Best Case Bankruptcy
Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 17 of 62

Fill in this information to identify your case:
Debtor 1 Alexander Louis Bednar
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: WESTERN DISTRICT OF OKLAHOMA

 

Case number .
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt . 419

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/8) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number {if known). ‘ :

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
Mf You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

  
 
  

  
 

     

 

 

2006 Hummer H2 240000 miles , $3,000.00 ml $3,000.00 Okla. Stat. tit. 31, § 1(A)(13)

 

 

curently not running

Vin # 5GRGN23U66H102339 / O ‘100% of fair market value, up to -

Line from Schedule A/B: 3.1 any applicable statutory limit

misc household items $1,200.00 i $1,200.00 Okla. Stat. tit. 31, § 1(A)(3)

Line from Schedule A/B: 6.1
\

 

CO 100% of fair market value, up to
any applicable statutory limit

 

_2-tv's -cell phone, 2-pc $250.00 $250.00 Okla. Stat. tit. 31, § 1(A)(3)
Line from Schedule A/B: 7.1

 

1 100% of fair market value, up to
any applicable statutory limit ‘

 

misc clothing $750.00. $750.00 Okla. Stat. tit. 31, § 1(A)(7)
Line from Schedule A/B: 11.1

 

O 100% of fair market value, up to
any applicable statutory limit

 

Cash on hand $200.00 $200.00 Okla. Stat. tit. 12, § 1171.1; .
Line from Schedule A/B: 16.1 Okla. Stat. tit. 31, § 1(A)(18)
OD 100% of fair market value, up to : ,
any applicable statutory limit

 

 

Official Form 106C Schedule C: The Property You Claim as Exempt , page 1 of 2
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Debtor1 Alexander Louis Bednar Case number (if known)

 

    

 

checking: Bank of America Acct Okla. Stat. tit. 12, § 1171.1;
$0.00 $0.00
ending 3423 Okla. Stat. tit. 31, § 1(A)(18)

 

O 100% of fair market value, up to
currently overdrawn / "any applicable statutory limit
Line from Schedule A/B:17.2 -

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Hi No /
Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Case: 19-14021 Doc:1 Filed: 10/01/19

Fill in this information to identify your case:

Debtor 1 Alexander Louis Bednar .
First Name Middle Name Last Name

Debtor 2

 

(Spouse if, filing) FirstName =~ Middle Name LastName -

United States Bankruptcy Court for the: © WESTERN DISTRICT OF OKLAHOMA

 

Case number
{if known)

 

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

Page: 19 of 62

1. Check if this isan
amended filing

4245

Beas complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

No. Check this box and submit this form to the court with your other schedules, You have nothing else to report on this form.

O Yes. Fill in all of the information below.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property

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page 1 of 1
Best Case Bankruptcy

 
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Fill in this information to identify your case:

Debtor 1 Alexander Louis: Bednar
First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name : - Last Name

 

United States Bankruptcy Court for the: © WESTERN DISTRICT OF OKLAHOMA

 

Case number . .
(if known) 1 Check if this is an
: : amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AJB: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known). ,

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
C1 No. Go to Part 2.

 

! ee the | instruetions hig form.in the: instruction booklet):

 

 

 

 

 

 

Total claim
Internal Revenue Service Last 4 digits of account number $32,000.00 $32,000.00 $0.00
Priority Creditors Name .
Special Procedures Staff When was the debt incurred?
55 North Robinson, STOP 5024
Oklahoma City, OK 73102
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
Debtor 4 only ~ D1 unliquidated
D1 Debtor 2 only - oO Disputed
C1] Debtor 4 and Debtor 2 only Type of PRIORITY unsecured claim:
(1 Atleast one of the debtors and another C1 Domestic support obligations
C1 Check if this claim is fora community debt II taxes and certain other debts you owe the government
Is the claim subject to offset? ~ D1 claims for death or personal injury while you were intoxicated
MI No : CZ other. Specify
O Yes income taxes
Official Form 106 E/F : Schedule E/F: Creditors Who Have Unsecured Claims , Page 1 of 12

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veoror’| Alexander LOUIS sbeanar wees LUNG! YE nuvNy
Propert
y
‘ Divisio $140,000.0
2.2 Jill Bednar Last 4 digits of accountnumber n 0 $90,000.00 $50,000.00
Priority Creditors Name :
1708 Dorchester When was the debt incurred?
Nichols Hills, OK 73120
Number Street City State Zip Code As. of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. C1 contingent
WM bebtor 1 only ” DO unliquidated
CO Debtor 2 only WB Disputed
D1 Debtor 4 and Debtor 2 only Type of PRIORITY unsecured claim:
Oo At least one of the debtors and another CT] Domestic support obligations
O Check if this claimis fora community debt I Taxes and certain other debts you owe the government
Is the claim subject to offset? Cl Claims for death or personal injury while you were intoxicated
Bo C1 other. Specify
0 Yes Property Division from divorce
Court ordered payments of $1,500 per month
Oklahoma County Treasurer Last 4 digits of account number $4,000.00 $4,000.00 $0.00
Priority Creditor's Name
320 Robert S Kerr Room 307 When was the debt incurred?
Oklahoma City, OK 73102
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. Oo Contingent
HM bebtor 1 only O Unliquidated -
C1 Debtor 2 only oO Disputed
O Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D1 Atleast one of the debtors and another C1 Domestic support obligations
D1 Check if this claim is for a’ community debt Wi Taxes and certain other debts you owe the government
Is the claim subject to offset? D1 claims for death or personal injury while you were intoxicated
Bi No Cl other. Specify
O Yes Property taxes on Garden Place property
oTc Last 4 digits of account number ’ $3,500.00 $3,500.00 $0.00
Priority Creditors Name .
3700 N Classen Blvd. # 200 When was the debt incurred?
Oklahoma City, OK 73118
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
MM Debtor 1 only O unliquidated -
DO Debtor 2 only H Disputed
0 Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
0 Atleast one of the debtors and another O Domestic support obligations
C1 Check if this claim is for a community debt Wl Taxes and certain other debts you owe the government
Is the claim subject to offset? CO Claims for death or personal injury while you were intoxicated
Mino C1 other. Specify
OD yes withholding taxes
List All of Your NONPRIORITY Unsecured Claims
3. Do any creditors have nonpriority unsecured claims against you?
DD No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Wi ves.
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 12

Best Case Bankruptcy

 
Case: 19-14021

Veptor? Alexander Louls Beanar

°4. List all af your nonpriority, usec

 
 
  

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Vase Murmiver (it Known)

 

 

 

 

   

holds a particular

ured claims in the.alphab ic
list the creditor separately for.each'claim:
list the other! creditors i in Part 3 lf you. ‘have't more fan three. non

 

 

      
 
   

ch claim listed, identify: what. type of-clai

 

ot tal: claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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41 Alberta Rose Jones Last 4 digits of account number $7, 000. 00
Nonpriority Creditor's Name :
PO Box 2175 When was the debt incurred?
Stillwater, OK 74076
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 1 only C1 Contingent
C1 Debtor 2 only Oo Unliquidated
Di Debtor 1 and Debtor 2 only a Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl Check if this claim is for a community C1 student toans
debt OD Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HI no C] Debts to pension or profit-sharing plans, and other similar debts
DO Yes HM other. Specify legal fee

4.2 Alliance Legal Solution Last 4 digits of account number $50,000.00
Nonpriority Creditors Name
501 S Sharon Amity Rd. Suite 305 When was the debt incurred?
Charlotte, NC 28211
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. : ,
a Debtor 1 only OD Contingent
DO Debtor 2 only C1 untiquidated
U1 Debtor 1 and Debtor 2 only a Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community C1 student loans
debt . O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? Teport as priority claims
a No C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes HB other. Specify Judgement

4.3 ATT Last 4 digits of account number $750.00
Nonpriority Creditor's Name :
P.O. Box 5001 When was the debt incurred?
Carol Stream, IL 60197
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ME ebtor 1 only oO Contingent
DO bebtor 2 only O Unliquidated
1D Debtor 1 and Debtor 2 only oO Disputed
At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is for a community C1 student loans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
|_| No TZ Debts to pension or profit-sharing plans, and other similar debts
0 Yes MH other. Specify Cable and internet

Official Form 106 E/F . Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 12

Best Case Bankruptcy

 
Case: 19-14021

Debtor 1 Alexander Louis Bednar

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

44 Baer & Timberlake, P.C. Last 4 digits of account number $20,000.00
Nonpriority Creditor's Name
4200 Perimeter Center Dr. suite 100 When was the debt incurred?
Oklahoma City, OK 73112
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH debtor 1 only C1 Contingent
1 Debtor 2 only 1 unliquidated
C1 Debtor 1 and Debtor 2 only Ey Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community oO Student loans
debt. C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
Cl Yes Wl other. Specify judgment

4.5 Ball Morse Lowe Last 4 digits of account number $13,000.00
Nonpriority Creditor's Name
321 S Berry When was the debt incurred?
Norman, OK 73072 /
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply.

- Who incurred the debt? Check one. , :

a Debtor 1 only oO Contingent
CO debtor 2 only D unliquidated
CJ Debtor 1 and Debtor 2 only a Disputed
(Cl Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is for a community C1 student loans
debt (C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims ,
|_| No D1 debts to pension or profit-sharing plans, and other similar debts
0D Yes ‘i Other. Specify attorney fee

46 Chris Harper Last 4 digits of account number $7,500.00
Nonpriority Creditors Name
825 E. 33rd When was the debt incurred?
Edmond, OK 73013
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. - ,
Mi bebtor 1 only Oi contingent
D1 Debtor 2 only DO untiquidated
CO Debtor 1 and Debtor 2 only a Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is for a community C1 student loans
debt C1 obligations arising out of a separation:agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No ; C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes I other. Specify attorney fees

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 12

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Best Case Bankruptcy
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Debtor 1 Alexander Louis Bednar

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47 Christ the King School Last 4 digits of account number $4,000.00
Nonpriority Creditors Name
1905 Elmhurst Ave When was the debt incurred?
Nicholas Hills, OK 73120 ,
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. .
Ml bebtor 1 only [CJ Contingent
CD Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only Oo Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did.not
Is the claim subject to offset? report as priority claims
H No C1 pebts to pension or profit-sharing plans, and other similar debts
O Yes Ml other. Specify School tuition

4.8 City Of Oklahoma City Last 4 digits of account number $200.00
Nonpriority Creditors Name
420 W. Main Suite 200 When was the debt incurred?
Oklahoma City, OK 73102 . ;
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM Debtor 1 only , O Contingent
D1 Debtor 2 onty C1 unliquidated
C1 Debtor 1 and Debtor 2 only Ci disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is for a community C1 student loans ‘
debt D obligations arising out of a separation agreement or divorce that you did not

_ Is the claim subject to offset? report as priority claims

| | No 1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes Wy other. Specity Utilities

4.9 Dr. Ron Sutor MD Last 4 digits of account number $5,000.00
Nonpriority Creditors Name
3433 NW 56th #660 When was the debt incurred?
Oklahoma City, OK 73112 .
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. ‘
W bebtor 1 only O1 contingent
C1 Debtor 2 only O Unliquidated
O1 Debtor 1 and Debtor 2 only O Disputed
0 Atleast one of the debtors and another - Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt a] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
ug No O Debts to pension or profit-sharing plans, and other similar debts
O Yes Ml other. Specify Medical expenses

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 12

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Debtor1 Alexander Louis Bednar

 

 

 

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4.1 . .
0 ECMC Group Last 4 digits of account number 0001 . . $168,155.00
Nonpriority Creditor's Name
111 Washington Ave South When was the debt incurred? Opened §/07/15
Suite 1400 .
Minneapolis, MN 55401
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MI pebtor 1 only O Contingent
C1 Debtor 2 only O Untiquidated
EC Debtor 1 and Debtor 2 only O Disputed
ITY im:
CJ Atleast one of the debtors and another Type of NONPRIOR unsecured claim
C1 Check if this claim is for a community a Student loans
debt CZ obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? Teport as priority claims ,
Minto C1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes CO other. Specify
Educational
41 . , ;
4 Franklin American Mortgage Last 4 digits of account number . $18,200.00
Nonpriority Creditor's Name .
c/o Baer & Timberlake When was the debt incurred?
420 Perimeter Center Dr. Suite 100
Oklahoma City, OK 73112
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MB Debtor 1 only Oo Contingent
‘D1 Debtor 2 only OO unliquidated
D1 Debtor 1 and Debtor 2 only Wl pisputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CD Check if this claim is fora community D1 student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EEnNo ‘ O Debis to pension or profit-sharing plans, and other similar debts
1 Yes MM other. Specify judgment
41 . . : . :
2 Integris Baptist Medical Center Last 4 digits of account number . $3,300.00

 

 

 

Nonpriority Creditors Name
3300 NW Expressway
Oklahoma City, OK 73112

 

Number Street City State Zip Code
Who incurred the debt? Check one.

W bebtor 1 only

DO Debtor 2 only

C2 Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

DO Check if this claim is for a community
debt :

Is the claim subject to offset?
Bino

O Yes

When was the debt incurred? ©

 

As of the date you file, the claim is: Check all that apply

O Contingent
Oo Unliquidated

| Disputed
Type of NONPRIORITY unsecured claim:

C1 student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims .

O Debts to pension or profit-sharing plans, and other similar debts

 

HM other. Specify medical services

 

Official Form 106 E/F

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Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 12

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Debtor 1 Alexander Louis Bednar Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

41 .
3 Jennifer Byler clo Rod Heggy Last 4 digits of account number $26,313.00
Nonpriority Creditors Name
Oklahoma County DA When was the debt incurred?
320 Robert S Kerr Rm 505
Oklahoma City, OK 73102
_ Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. :
W ebtor 1 only C1 contingent
OO Debtor 2 only O Unliquidated
C1 Debtor 4 and Debtor 2 only MM disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1] student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? _ Teport as priority claims
Hi No C1 Debts to pension or profit-sharing plans, and other similar debts
CO Yes Ml other. Specify 2 judgment
4.1 .
4 Joe Farris Last 4 digits of account number $7,500.00
Nonpriority Creditors Name
2 W. 2nd Street Suite 900 When was the debt incurred? 2018
Tulsa, OK 74103 :
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
H Debtor 1 only oO Contingent
Debtor 2 only Untiquidate
Oo ! CO unliquidated
C1 Debtor 1 and Debtor 2 only | Disputed
1D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim: .
C1 Check if this claim is for a community C1 student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims :
a No D Debts to pension or profit-sharing plans, and other similar debts
0 Yes MH other. Specify attorney fee
41 ‘
5 OESC Last 4 digits of account number Unknown
Nonpriority Creditors Name . ’
PO Box 52003 When was the debt incurred?
Oklahoma City, OK 73152 ,
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Céntingent
DO Debtor 2 only Oo Unliquidated
C1 Debtor 4 and Debtor 2 only D1 Disputed ,
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Check if this claim is fora community C1 Student loans .
debt , Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
| No C1 Debts to pension or profit-sharing plans, and other similar debts
Oo Yes MH other. Specify taxes
Official Form 106 EIF Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 12

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41 ,
6 OG&E Last 4 digits of account number $500.00
Nonpriority Creditors Name
PO Box 24990 . When was the debt incurred?
Oklahoma City, OK 73124
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 1 only O Contingent
CO Debtor 2 only oO Unliquidated
CD Debtor 1 and Debtor 2 only Q Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community CI student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims 2
Hino LC Debts to pension or profit-sharing plans, and other similar debts
(J Yes | | Other. Specify electric bill
44 ge
7 Oklahoma Bar Association Last 4 digits of account number $28,000.00
Nonpriority Creditors Name
1901 N Lincoln Blvd. When was the debt incurred? 2019
Oklahoma City, OK 73105 . /
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ml Debtor 4 only CD Contingent
C1 Debtor 2 only D unliquidated
C1 Debtor 1 and Debtor 2 only a Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a. community C1 student loans }
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO debts to pension or profit-sharing plans, and other similar debts
O Yes WB other. Specify Cost & Fees
4.1
8 Oklahoma County DA Last 4 digits of account number Unknown
Nonpriority Creditors Name :
320 Robert S Kerr When was the debt incurred?
fifth floor
Oklahoma City, OK 73102 : ,
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
IE bebtor 1 only O contingent
O Debtor 2 only O Unliquidated
CO Debtor 4 and Debtor 2 only O Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community CO student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims / ,
a No OD Debts to pension or profit-sharing plans, and other similar debts
0 Yes MI other. Specity legal fee
Official Form 106 E/F - Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 12

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41 /
9 Oklahoma County Tax Assessor Last 4 digits of account number $4,000.00
’ Nonpriority Creditors Name
320 Robert S Kerr Room 315 When was the debt incurred?
Oklahoma City, OK 73102
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. : ,
MM Debtor 1 only DO Contingent
D1 Debtor 2 only D1 unliquidated
C] Debtor 1 and Debtor 2 only oO Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is fora community C1 student loans.
debt . D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims :
Hino CZ Debts to pension or profit-sharing plans, and other similar debts
. ’ property taxes 3514 Garden Place OKC
O Yes Wy other. Specify 73112
4.2
0 Oklahoma Labor Department Last 4 digits of account number Unknown
Nonpriority Creditors Name
3017 N Stiles Ave # 100 When was the debt incurred?
Oklahoma City, OK 73105 .
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM Debtor 4 only D1 contingent ”
CO) Debtor 2 only D0 unliquidated
C1] Debtor 4 and Debtor 2 only oO Disputed
C7 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is fora community C1 student loans .
debt D1 obiigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino 0 Debts to pension or profit-sharing plans, and other similar debts
O yes MI other. Specify employment tax
4.2
1 ONG Last 4 digits of account number $300.00
Nonpriority Creditors Name
PO Box 401 When was the debt incurred?
Oklahoma City, OK 73101-0401
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
Wi pebtor 1 only Oo Contingent
O Debtor 2 only . oO Untiquidated
\
OC Debtor 4 and Debtor 2 only | Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
( Cheek if this claim is for a community C1 student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? teport as priority claims .
Hno D Debts to pension or profit-sharing plans, and other similar debts
O Yes WH other. specify utitity services
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 12

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Debtor1 Alexander Louis Bednar

 

 

 

 

 

 

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4.2 . .
2 Performance Food Group, Inc Last 4 digits of account number: 1885 ; $22,770.09
Nonpriority Creditors Name
c/o Bill Malone Jr. When was the debt incurred?
8650 Spicewood Springs :
Austin, TX 78759 :
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
i Debtor 1 only O Contingent
D1 Debtor 2 only DO unliquidated
C1 Debtor 1 and Debtor 2 only a Disputed (
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is for a community C1 Student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims _ ..
HI No CJ Debts to pension or profit-sharing plans, and other similar debts
0 Yes Ml other. Specify Judgment on Falcone's Bistro! LLC
4.2 " . .
3 Radiology Associates LLC Last 4 digits of account number 5804 $330.00
Nonpriority Creditor's Name ,
3330 NW 56th St When was the debt incurred?
Suite 206
Oklahoma City, OK 73112
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB pebtor 1 only D1 Contingent
ebtor 2 only liquidate
C1 Deb I C1 unliquidated
D1 Debtor 1 and Debtor 2 only Oo Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Check if this claim is fora community oO Student loans
debt CI Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes Wl other. Specify medical services
4.2
4 SSM Health Last 4 digits of account number $200.00
Nonpriority Creditor’s Name
PO Box 28205 When was the debt incurred?
Saint Louis, MO 63132 ,
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. ,
a Debtor 1 only Oo Contingent
CO debtor 2 only 1 unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed :
CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D1 pebts to pension or profit-sharing plans, and other similar debts
0 Yes Mi other. Specify Medical services
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 10 of 12

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5 St. Anthony Hospital Last 4 digits of account number $100.00 —
Nonpriority Creditor's Name
1000 North Lee Street ; When was the debt incurred?
Oklahoma City, OK 73101-0205
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. :
Wl bebtor 1 only - oO Contingent
C1 Debtor 2 only D unliquidated
CI Debtor 1 and Debtor 2 only D1 pisputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CD Check if this claim is fora community C1 student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
gw No D1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes MM other. Specify Medical services
4.2 + .
6 Steve Meador & Associates Last 4 digits of account number $1,480.50
Nonpriority Creditor's Name
111 Harrison Ave Suite 101 When was the debt incurred?
Oklahoma City, OK 73103
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ml Debtor 4 only C1 Contingent
1 pebtor 2 only CD unliquidated
C] Debtor 1 and Debtor 2 only am Disputed.
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
(C1 check if this claim is fora community C1 student toans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
| | No DO Debts to pension or profit-sharing plans, and other similar debts
D Yes WM other. Specify Court reporter
4.2 .
7 Tom Fisher Last 4 digits of account number $16,500.00

 

 

 

Nonpriority Creditor's Name
Legacy Drug Paul's Valley
111 W. Grant Ave. :
Pauls Valley, OK 73075

 

Number Street City State Zip Code ;
Who incurred the debt? Check one.

a Debtor 1 only

C1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

CO) Cheek if this claim is for a community
debt

Is the claim subject to offset?

a No
0 Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
D1 unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

TD Student loans

oO Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

Mi other. Specify personal loan

 

 

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims
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Debtor 1 Alexander Louis Bednar Case number (if known)
42 ag ,
8 Vanderbert University Last 4 digits.of account number $6,000.00 —
Nonpriority Creditor's Name OT TO
2201 W End When was the debt incurred? 1992
Nashville, TN 37235
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
WH pebtor 1 only 0 Contingent
D1 Debtor 2 only D3 uUntiquidated
D) Debtor 1 and Debtor 2.only O Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl Check if this claim is fora community C1 student loans
debt ( Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? / report as priority claims
nH No . : C1 Debts to pension or profit-sharing plans, and other similar debts
Ol Yes . MI other. Specify Non-educational Debt

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency -
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts | in Parts 1 or 2, do not fill out or submit this page.

 

Name and Address On which entry in Part 1 or Part-2 did you list the original creditor?

Rick Warren Line 4.13 of (Check one): Oi Part 1: Creditors with Priority Unsecured Claims
clo Oklahoma County Court Clerk ,
320 Robert S Kerr 4th Floor
Oklahoma City, OK 73102 .

I part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts. for each
type of unsecured claim.

Claim

   

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

ae i 6a. Domestic support obligations - . 6a.
“Total:
2 Claims: .
© from-Part 1 ; -6b, Taxes and certain other debts you owe the government 6b. $ 179,500.00
foe! na 6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. _ 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. Ge, $ 179,500.00
| 6f, Student loans 6. $468,155.00
"Total: ,
: “claims : . .
: from-Part2: 6g. Obligations arising out of a separation agreement or divorce that : 0.00
: : you did not report as priority claims &g. $ ‘
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
Gi. Other. Add all other nonpriority unsecured claims. Write that amount Gi.
here. $ 242,943.59
6j. Total Nonpriority. Add lines 6f through 6i. 6j. $ , 411,098.59
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 12 of 12

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Fill in this information to identify your case:

Debtor 1 Alexander Louis Bednar
First Name Middle Name Last Name

 

Debtor 2 . . :
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © WESTERN DISTRICT OF OKLAHOMA

 

Case number
(if known)

 

 

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1 Check if this is an
amended filing

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases

12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Doyou have any executory contracts or unexpired leases?

No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C1 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 AVB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts

and unexpired leases.

   

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Peison ‘or coinpany with ‘wtiotn you have: the: contract or lease ~ - State ‘what the contract orleaseis for =
: , Namie, Number, Street, City, State.and:ZiP. Code - i ; : Be Ta ME Lo
2.1
Name 1
Number Street
City : State ZIP Code
2.2 ,
Name
Number Street
City "State ZIP Gode
2.3
Name 4
Number Street
City State ZIP Code
24 :
Name
Number Street
City State ZIP Code
2.5
Name
Number Street
City State ZIP Code
Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Best Case Bankruptcy
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Fill in this information to identify your case:

Debtor 1 Alexander Louis Bednar
First Name Middle Name ‘ Last Name

 

Debtor 2
(Spouse if, filing) First Name . Middle Name Last Name

 

United States Bankruptcy Court for the: © WESTERN DISTRICT OF OKLAHOMA

 

Case number .
(if known) , (Q Check if this is an
, amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors - . 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write-
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.

Mi No
0 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Hf No. Go to line 3.
CD Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list.all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

: Colin 1: Your-codebtor.” a ee Lo

: Name, Number, Stréet, City; State-afid'ZIP Code .. . : no, med

 

O Schedule D, line

 

 

 

 

 

 

Name ‘ D1 Schedule E/F, line
oe DO Schedule G, line
Number Street /
City : State ZIP Code
3.2 .’ [1 Schedule D, line
Name - Schedule E/F, line
DO Schedule G, line
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 34 of 62

 

Fill in this information to identi

Debtor 1 - Alexander Louis Bednar

 

Debtor 2
(Spouse, if filing)

 

 

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

Case number Check if this is:

(If known) 1 An amended filing

C1 A supplement showing postpetition chapter -
13 income as of the following date:

Official Form 106! | ery
Schedule |: Your Income - OS 42115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for ~
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 

 

 

information.

If you have more than one job, Empl t stat i Employed 0 Employed
attach a separate page with ‘Employment status :
information about additional C1 Not employed C1 Not employed
employers. . Occupation Consultant

Include part-time, seasonal, or ' .

self-employed work, Employer's name Bednar Consulting

 

Occupation may include student Employer's address
or homemaker, if it applies.

 

How long employed there? 10 yrs

 

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need
more space, attach a separate sheet to this form.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. § 6,000.00 $ NIA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ N/A
4. Calculate gross Income. Add line 2 + line 3. 4.1 $ 6,000.00 $ _ NIA

 

 

 

 

 

Official Form 106] Schedule !: Your Income page 1
Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 35 of 62

Debtor1 Alexander Louis Bednar Case number (if known)

Copy line 4 here 4. $ 6,000.00 $ NIA
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions . 5a. §$ 1,200.00 $ NIA
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ NIA
5c. Voluntary contributions for retirement plans : 5c. $ 0.00 $ NIA
5d. Required repayments of retirement fund loans 5d. § 0.00 §$ NIA
5e. Insurance . : Se. § 0.00 § N/A
5f. Domestic support obligations Sf. §$ 0.00 § N/A
5g. Union dues 5g. $§$ 0.00 $ NIA
5h. Other deductions. Specify: _ Sat §$ 0.00 + $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 § 1,200.00 $ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 4,800.00. $ N/A
List all other income regularly received:
8a.- Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total -
monthly net income. 8a. §$ 0.00 $ NIA
8b. Interest and dividends 8b. §$ 0.00 $§ N/A
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. . 8c. §$ 0.00 $ N/A
8d. Unemployment compensation 8d. §$ 0.00. $ NIA
8e. Social Security ' 8a. § 0.00 $ N/A
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: - Bf = § 0.00 $ N/A
‘8g. Pension or retirement income 8g. $ 0.00 $ N/A:
8h. Other monthly income. Specify: art rental income 8h.+ $ 160.00 + $ NIA
9. Add all other income. Add lines 8at+8b+8c+8d+8e+8f+8g+8h. 9. 1$ 160.00; |$ NIA
10. Calculate monthly income. Add line 7 + line 9. . 10.|$. 4,960.00 | +|$ N/A | =/$ 4,960.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. :
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies $ 4,960.00
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
Ez No.
oO Yes. Explain: |
Official Form 1061 . Schedule I: Your Income page 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 36 of 62

Fill in this information to identify your case:

Debtor 1 Alexander Louis Bednar Check if this is:

 

 

OV Anamended filing
Debtor 2 OL Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court forthe: WESTERN DISTRICT OF OKLAHOMA _ - MM/DD/YYYY

 

Case number
(If known) ©

 

 

 

Official Form 106J
Schedule J: Your Expenses 1215

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household
1. Is this a joint case?

Hi No. Go to line 2.
D Yes. Does Debtor 2 live in a separate household?

1 No
O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? [] No

Do not list Debtor 1 and ves Fill out this information for Dependent’s relationship to Dependent’s Does dependent

     

 

 

 

 

 

Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age —
Do not state the
dependents names. Daughter 7

3. Do your expenses include HENo

expenses of people other than

yourself and your dependents? C1 Yes

Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date. , ,

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage 800.00
payments and any rent for the ground or lot. .§ :

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses ~ 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans - & § 0.00

Official Form 106J Schedule J: Your Expenses : page 1
Case: 19-14021 Doc:1_ Filed:

Debtor1 Alexander Louis Bednar

6.

16.

17.

18.
19.

20.

21.
22.

23.

24,

Official Form 106J

10/01/19

Case number (if known)

 

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Utilities:
6a. Electricity, heat, natural gas 6a. $ 50.00
6b. Water, sewer, garbage collection 6b. $ 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 100.00
6d. Other. Specify: 6d. $ 0.00
Food and housekeeping supplies 7. $ 250.00
Childcare and children’s education costs 8. $ 0.00
Clothing, laundry, and dry cleaning 9. $ 50.00
Personal care products and services 10. $ 60.00
Medical and dental expenses 11. $ 80.00
Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 150.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 80.00
Charitable contributions and religious donations 14. $ 0.00
Insurance. ,
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 45.00
15b. Health insurance 15b. § 0.00
15c. Vehicle insurance 15c. $ 150.00
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify:’ 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106l). 18. $ 200.00
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
Other: Specify: car rental 21. +$ 150.00
Calculate your monthly expenses
22a. Add lines 4 through 21. $ 2,165.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 2,165.00
Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. $ 4,960.00
23b. Copy your monthly expenses from line 22c above. 23b. -$ 2,165.00
23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. Y 23c.|$. 2,795.00

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

WE No.

 

 

 

 

 

 

 

 

 

Ces. | Explain here:

Schedule J: Your Expenses

page 2
Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 38 of 62

Fill in this information to identify your case:
Debtor 1 ’ Alexander Louis Bednar
First Name Middle Name Last Name

Debtor 2 ~
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © WESTERN DISTRICT OF OKLAHOMA

 

Case number
(if known)

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules

1 Check if this is an
amended filing

12/15

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341,.1519, and 3571.

| | Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Bm No

[] Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,

 

Under penalty of perjury, | declare that | have sead the summary and schedules filed with this declaration and

that they are true and correct.
X {si Alexander Louis Bednar x

 

Declaration, and Signature (Official Form 119)

 

Alexander Louis pean %S, BON Y Signature of Debtor 2
i (

Signature of Debtor 1

 

Date JubetT, 2019 Date

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Best Case Bankruptcy
Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 39 of 62

Fill in this information to identify your case:

Debtor 1 Alexander Louis Bednar
First Name Middle Name Last Name

Debtor 2 ‘
(Spouse ff, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: | WESTERN DISTRICT OF OKLAHOMA

 

Case number
(if known) 1 Check if this is an

amended filing

 

 

 

: Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 419

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

LRH Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

O Married
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

O No .
HM Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        

   
   

“lived there

15721 Via Bella From-To: qo. Same as Debtor 1 1 same as Debtor 1
Edmond, OK 73013 12-10 to 9-18 . Fore:

   

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, |\daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

HM No
Ol Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

M@ No
O Yes. Fill in the details.

 

     

‘Debtor-1— Ge ey 2S "
: Sources of income: . Gross income Sources of income ; r Gross income. --
*Check:all'that apply: | (before deductions and Check all that apply. ..< | (before deductions:

| exclusions) _ and exclusions) «

    

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Case: 19-14021 Doc:1 _ Filed: 10/01/19 Page: 40 of 62

 

 

Debtor1 Alexander Louis Bednar Case number (if known)

5. Did you receive any other income during this year or the two previous calendar years? .
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

M No ;
O Yes. Fill in the details.

 

 
  

  
 

Gross.incomeé from
_each-source

* (before deductions anid
exclusions). 8

   

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

C No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
0 no. Go to line 7.

0 Yes List below each creditor to whom you paid a total of $6,825* or more in one or more ‘payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

HM Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Me No. Gotoline7.

O Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

- “Amount. you:

-Creditor's'Name.and Address:*. <. | -Datesofpayment- - - Total amount :
ae ES ie FE ne still owe.

    

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives;.any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
alimony. .

H No
’.O1 Yes. List all payments to an insider.
: Insider's Name:and Address Dates:of payment — = =Total amount. - Amount you!

: Reason-for'this payment
epaid’ |... . still owe: oO

    

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

Include payments on debts guaranteed or cosigned by an insider.

H No |
O Yes. List all payments to an insider

-Insider's Name and Address ~ Dates of payment a Total amount "Amount you: ©Reason-forthis:payment
errata we coe 7 - paid: - -Stillowe: -lnclude:creditor'sname.  *

 
    

Official Form 107 : Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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Debtor 1

Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 41 of 62

‘Alexander Louis Bednar Case number (if known)

 

 

GENZSE Identify Legal Actions, Repossessions, and Foreclosures

9.

Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

 

 

 

    

 

 

 

 

 

O No
Mes. Fill in the details.
“Case title -. ee Nature: of the case ‘Court or agency - (Stats of the case,
:.Case- number : : t : les : :
ALEXANDER BEDNAR vs Bankruptcy OKLAHOMA WESTERN - O. Pending
- Unknown Defendant Chapter 13 OKLAHOMA CITY C1 On appeal
1912312 O Concluded
- 0.00
ALEXANDER BEDNAR vs Bankruptcy OKLAHOMA WESTERN - O Pending
Unknown Defendant Chapter 7 OKLAHOMA CITY DO On appeal
1511916 O) Concluded
Discharged - 0.00
State Of Oklahoma vs ALEXANDER STATE TAX OKLAHOMA COUNTY O Pending
BEDNAR WARRANT CLERK O Onappeal
1T11300173700 DD Concluded
- 11,627.00
RCB Bank v. Alexander Louis Motion to revoke District Court of Oklahoma a Pending
Bednar et al. Bond County oO
CJ-2015-192 320 Robert S Kerr Ave qo oe appre

Oklahoma City, OK 73102

 

10. Within 1-year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Mi No. Go to line 11.
(Yes. Fill in the information below.

-Creditor Name and Address en

 

| Describe the Property... Dates. Pe Value ‘of the:

: “preperty

  

Explain’ what ‘happened -

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

M No
O Yes. Fill in the details.
“Greditor Name and Address °°

 

 

‘Date. action: was~

“Describe the action the creditor took
Se Ue taken

   

12, Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

HM No
DO Yes

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Debtor1 Alexander Louis Bednar : Case number (if known)

 

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
HM No

oO _Yes. Fill in nthe details fc for. each holt

    

    

“Addressei-

 

14.

Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
MH No

QO Yes. Fill in the details for each gift or contribution:
: Gifts ¢ or contributions. to:charities

 

  

at total... "Describe w what you contributed: “| Dates: you. ="

‘contributed

  

 

List Certain Le

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

BH No
1] Yes. Fill in the details.
Describe the property. you lost and “Describe any: insurance. coverage forthe loss.

“Include, the amouint that insurance has paid.’ List per
é'claims: on lineé:33:of Schedule: A/B; Property

   
    

 
  

 

 

GERSAil List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your t behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
7 Yes. Fill in the details.

   

-Date payment

: Description ¢ and value af any Property
. . OF transfer was ;

transferred _

     
 

     

“Person Who Made the Payment, if Not You |

Stephen A. Harry Attorney Fees : June 2019 $2,500.00
3030 NW Expressway Suite 200

Suite 200

Oklahoma City, OK 73112

stephenaharry@sahlawoffice.com

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

M@ No
Ol sYes. Fill in the details.

 

“PersonWhoWas Paid = == =... ._: Description and value of any Property “o> Datepayment- Amount.of:
: Address as transferred : . ‘ortransferwas payment
: : made :

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 4
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Best Case Bankruptcy
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veolior | Alexanaer LOUIS beanar aoe Hulse wienunny

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

 

H No
OYes. Fill in the details.
: Person Who Received Transfer oo Description andvalue of —_: Describe any. property or:

“Address oa Lo a . ‘property transferred = - : ‘ payments: received: or debts :
: : 7 . : : Paid: inéxchange -

   

 

 

=P arson’ 'S' relationship to you:.

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

H No
Ol Yes. Fill in the details.
‘Name of trust “ Description and value of the property:transferred | e0 =~. a" Spate: ransfer was i

 

 

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

 

HM No

(1 Yes. Fill in the details.

“Name of Financial Institutionand “Last 4.digits.of .. - Type of account o1 ét balance:
“Address (Number, Street, City, State and 217 - -account-number _. jinstrument: .~..- “before ‘closing OF:
_ Comey ‘ oes eo | Ss oe so :fransfer,

  

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M@ No
O Yes. Fill in the details.
‘Name of Financial institution’ ~:~ =" Who else had access to it?

 

‘Describe the contents... | Do-you still’ -
ee os navelt?

     
 

: Address. (Number, St ity, State and ZIP. Code) -* ddréss (Number, Street, City, /

ind ZIP. Gode)..

         

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

 

 

 

 

   

O No

HI Yes. Fill in the details.

“Name of Storage Facility. “ ‘Whoelse.has orhad access Describe the contents ~

Address ( (Number, Street, City, State and ZIP Code)  toite pee coe

ha : “Address (Number, Street, city,

: ws rn : . “StateandZIP.Code) i ee
North Penn Storage _ Debtor Misc Art and personal OD No
Oklahoma City, OK 73112 property Ves

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

   
    

for someone.

HE No

O Yes, Fill in the details.

‘Owner's Name - , “oes Whereis the: property? oe ' Describethe property -, = Value:

Address (Number, Street, City, St State and ZIP PCode) i oe Street, SiS StateandZIP 6s nes og
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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WoMIW 1. AIGACHIMVG! LW WOoMtICn woe

 

azcumtHe Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Hl sEnvironmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or ,
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

 

 

HM No
O Yes. Fill in the details.
“Name of site . Governmental unit.»

 

 

‘Date-of notice:

 

: Address (Number § Street, oy, State:

    

 

 

 

and ZIP Cote) ' | Address (Number Street, City;
sek PIP Code). ee

  

 

25. Have you notified any governmental unit of any release of hazardous material?

HM No
1 Yes, Fill in the details.

. -Name.ot site. wo
: Address: (Number, Street, City, State and ZIP Cade) =

 

 

   
    

 

vernim aE :
ddress (Number, ‘Street, ity: State and
P: Code) .

   

“Environmental law,. if you”
know) ie. :

  

 

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HM No
0 - Yes. Fill in the details.

   
  

 

 

ourt or agency Status ofthe

_case.

   

 

Case Number:

    

: State ‘and Zip. Code).

 

 

 

iu:ugkhe Give Details About Your Business or Connections to Any Business

. 27.. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Hi Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
Hf A member of a limited liability company (LLC) or limited liability partnership (LLP)
DA partnerina partnership
0 An officer, director, or managing executive of a corporation
C1 An owner of at least 5% of the voting or equity securities of a corporation
[1 No. None of the above applies. Go to Part 12.

Ml Yes. Check all that apply al above and fill in the details below for each business.

       

‘Business Name os ; vo Describe the nature of the busines: _ Employer Identification number:

: Address mT MY Do not include Social Security’ number or TIN.

; (Number, Street, oily, § State and ZIP Codey i ‘Name of accountant or bookkeeper :

ne : De eeu deee oo Sobaeesee ‘Dates business existed.

’ Bednar Consulting — ‘Business Consulting EIN: XX-XXXXXXX
13919-B North May Ave #217 +
Oklahoma City, OK 73134 Brenda Carpenter From-To
Official Form 107 , Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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wee PUIG ACIS! Eee meres

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties. :

H No
DO Yes. Fill in the details below.

      
 

‘Dateisgued ~

 

“(Numb et, City
IGEIEERE Sign Below
| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers

‘are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

  

ls! Alexander Louis Bednar { if=
Alexander Louis Bednar

 

Signature of Debtor 2

 

Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
| No : ‘ .

0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

BNo ——

OO Yes. Name of Person . Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 46 of 62

Fill in this information to identify your case: Check as directed in lines 17 and 21:

According to the calculations required by this
Statement:

Debtor 1 Alexander Louis Bednar

Debtor 2
(Spouse, if filing)

OO 1. Disposable income is not determined under
11 U.S.C. § 1325(b)(3).

 

United States Bankruptcy Court for the: Western District of Oklahoma

M2. Disposable income is determined under 11
U.S.C. § 1325(b)(3).

 

 

Case number
(if known)

 

 

C1 3. The commitment period is 3 years.

 

M4. The commitment period is 5 years.

 

 

D1 Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 1215

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
Mf Not married. Fill out Column A, lines 2-11.
DO Married. Fill out both Columns A and B, lines 2-11.

 

 
 
  

Fill inn the average
. 101(40A). For: example, you ; s
- the -6.months, add the.income for al 6 months and divide’ ‘the: total by:6. Fill in the result: Do not include any income: amount | more than: once: For example, if both
spouses own the same: rental property, put: the i income ‘from that property i in one colurin only. If you have nothing: fo report for any line; ‘write $0) in the: Space: :

ColumnA.. © °° ColumnB
Debtor 1. "a" “Debtor2 or

 

 

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $ 6,000.00 ¢
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. . $ 0.00 ¢

 

4. All-amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Do not include payments from a spouse. Do not include payments

 

 

 

  

 

 

 

 

you listed on line 3. 0.00 ¢
5. Net income from operating a business,

profession, or farm

Gross receipts (before all deductions)

Ordinary and necessary operating expenses -$ 0.00

Net monthly income from a business, profession, or farm $ 0.00 Copy here > $ 0.00 $§
6. Net income from rental and other real property

Gross receipts (before all deductions) $ 0.00

Ordinary and necessary operating expenses -$ 0.00

Net monthly income from rental or other real property $ 0.00 Copy here -> $ 0.00 $

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1

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Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 47 of 62

Debtor1 Alexander Louis Bednar . Case number (if known)

 

 

 

 

7. Interest, dividends, and royalties ~ $ 0.00 §$
8. Unemployment compensation , $ 0.00 $

 

 

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. instead, list it here:

For you $ 0.00
For your spouse ‘ $

9. Pension or retirement income. Do not include any amount received that was a 0.00
_ benefit under the Social Security Act. . $ : $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime,-a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

total below.
$ 0.00 $
$ 0.00 $
Total amounts from separate pages, if any. + $ 0.00 $
11. Calculate your total average monthly income. Add lines 2 through 10 for _
each column. Then add the total for Column A to the total for Column B. $ 6,000.00 | +5 =$ 6,000.00
Total average
monthly income
Determine How to Measure Your Deductions from Income

 

 

12. Copy your total average monthly income from line 11. : $ 6,000.00
13. Calculate the marital adjustment. Check one: om

HM You are not married. Fill in 0 below. .
You are married and your spouse is filing with you. Fill in 0 below.

(C1 You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column 8, that was NOT regularly paid for the household expenses of you or your
dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.

Below, specify the basis for excluding this income and the amount of income * devoted to each purpose. If necessary, list additional
adjustments on a separate page.

If this adjustment does not apply, enter 0 below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
$
+§
Total : : $ 0.00 Copy here=> - 0.00
14. Your current monthly income. Subtract line 13 from line 12. $ 6,000.00
15. Calculate your current monthly income for the year. Follow these steps: /
15a. Copy line 14 here=> _. $ 6,000.00
Multiply line 15a by 12 (the number of months in a year). x 12
15b. The result is your current monthly income for the year for this part of the fOr... sees seseeeeeeeeeeetenneanes $ 72,000.00
Official Form 122C-1  ° Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 2

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- Debtori1 Alexander Louis Bednar Case number (if known)

 

46. Calculate the median family income that applies to you. Follow these steps:

16a, Fill in the state in which you live. OK
16b. Fill in the number of people in your household. 2
16c. Fill in the median family income for your state and size of household. : $ 59,133.00

 

To find a list of applicable median income amounts, go online using the fink specified in ‘the separate ~
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?
17a. 1 Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Ca/culation of Your Disposable income (Official Form 122C-2).

17b. ME Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
your current monthly income from line 14 above.

Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 

18. Copy your total average monthly income from line 11. $ 6,000.00

 

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
contend that calculating the commitment period under 11 U.S.C. § 182500)(4) allows you to deduct part of your
spouse's income, copy the amount from line 13.

19a. If the marital adjustment does not apply, fill in 0 on line 19a. -$ 0.00

 

19b. Subtract line 19a from line-18. . $ 6,000.00

 

 

 

20. Calculate your current monthly income for the year. Follow these steps:

 

 

 

 

20a. Copy line 19b $ 6,000.00
Multiply by 12 (the number of months in a year). x 12

20b. The result is your current monthly income for the year for this part of the form ts 72,000.00

20c. Copy the median family income for your state and size ofhousehold fromline16c 8 == $ 59,133.00

 

 

 

21. How do the lines compare?

1 Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
period is 3 years. Go to Part 4. .

Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
commitment period is 5 years. Go to Part 4.

 

Sign Below
ey signing here, under penalty of perjury | declare that the information on this statement and in any attachments i is true and correct.

X /s/ Alexander Louis Bednar. G <r
Alexander Louis Bednar

Signature of Debtor 1 ail Cy uber 2 ©

 

        

MM oS IYYYY:
If you checked 17a, do NOT fill out or file Form 122C- 2.

If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

 

 

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3
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Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 49 of 62

Fill in this information to identify your case:

 

Debtor 1 Alexander Louis Bednar

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: Western District of Oklahoma

 

 

Case number edie i .
(if known) | C1 Check if this is an amended filing

 

 

Official! Form 122C-2
Chapter 13 Calculation of Your Disposable Income. 04/19

 

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly | Income and Calculation of
Commitment Period (Official Form 122C-1). :

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the tine number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Calculate Your Deductions from Your Income

 

  
  
   

 

The'lnternal Revenue Service (IRS):issues National ‘and Local:Standards for:certain expanse a amounts. Use these a Uns. to:answer the!
the questions. in lines 6-15: To-find.the: IRS standards; go online, ‘using: the: link speci d:
information: ‘may also be available’ at th bankruptcy « clerk's office. “

    

 

If your expenses afer from month: to month, enter the average 6 expense.

Note: Line numbers:1-4 are not usédin: this form. ‘These numbers apply to: information: required by a simitar form used i chapter 7 cases.

 

 

“5. The number of people ‘used in determining your “deductions from income

 

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from 2
the number of f people | in your household.

 

 

 

National Standards eS Your must use e the: IRS National Standards toa answer the questions in vlnes 67

 

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
Standards, fill in the dollar amount for food, clothing, and other items. $ 1,288.00

7. » Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
higher than this IRS amount, you may deduct the additional amount on line 22.

 

 

 

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 1
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_ Debtor1 Alexander Louis Bednar Case number (if known)

 

 

 

7a. Out-of-pocket health care allowance per person $ 55
7b. Number of people who are under 65 : x 2
7c. Subtotal. Multiply line 7a by line 7b. $ 110.00 Copyhere=> $ 110.00

   

“

- 7d. Out-of-pocket health care allowance per person

 

 

 

114
7e. Number of people who are 65 or older Xx 07
7f. Subtotal. Multiply tine 7d by line 7e. . §$ 0.00 Copyhere=> $ - 0.00
7g. Total. Add line 7c and line 7f 1 110.00 Copy total here=> | $ 110.00

 

 

 

 

 

 

   

‘Based on information from the is, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

a Housing and utilities - Insurance and operating expenses

a Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the -
separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered i inline 5, fil

in the dollar amount listed for your county for insurance and operating expenses. : $ 558.00

9. Housing and utilities - Mortgage or rent expenses:

9a. Using the number of people you entered in line 5, fill in the dollar amount
listed for your county for mortgage or rent expenses. / $ 1,024.00

9b. Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file
for bankruptcy. Next divide by

 

 

 

 

 

 

 

 

Copy Repeat this amount
9b. Total average monthly payment $ 0.00 jhere=> -$ 0.00 on ‘ine 33a.
9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment) from line 9a (mortgage , Copy
or rent expense). lf this number is less than $0, enter $0. : $ 1,024.00 |here=> $ 1,024.00

 

 

 

10. if you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and

 

 

 

 

affects the calculation of your monthly expenses, fill in any additional amount you claim. $ 0.00
Explain why: ,
Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 2

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Debtorr1 Alexander Louis Bednar Case number (if known)

 

41. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

Ml 0. Go to line 14.
0 1. Go to line 12.

OD 2 or more. Go to line 12.

42. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $

more than two vehicles.

 

== Describe Vehicle 1:

 

 

13a. Ownership or leasing costs using IRS Local Standard..........:ssssssesssssesseseeeesseeeneess . § 0.00

13b. Average monthly payment for-all debts secured by Vehicle 1.
Do not include costs for leased vehicles.

To calculate the average monthly payment here and on line 13e, add all amounts that
are contractually due to each secured creditor in the 60 months after you file for
bankruptcy. T

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

43. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for

0.00

 

 

"Na
Copy Repeat this
Total Average Monthly Payment $ here=> -$ 0.00 paula
13c. Net Vehicle 1 ownership or lease expense . Copy net
Subtract line 13b from line 13a. if this number is less than $0, enter $0... expense here
$ 0.00 |-; 0.00
: Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard........cesssecsseseeesesseeeenenseey $ 0.00
13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
leased vehicles.
“Name of each creditor for Vehicle2 oe ‘Average monthly’ :
a BLO ee gee Ege payment” se,
$
ory Repeat this
Total average monthly payment $. . > $ 0.00 oount on line
13f. Net Vehicle 2 ownership or lease expense Copy net
Subtract line 13e from line 13d. if this number is less than $0, enter $0. ..........eseeeee oxponee here :
$ 0.00 j= $ 0.00
14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the _
Public Transportation expense allowance regardless of whether you use public transportation. $ 217.00
15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
not claim more than the IRS Local Standard for Public Transportation. 0.00
Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income ‘page 3

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Debtor 1

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Alexander Louis Bednar Case number (if known)

 

 

Other Necessary:Expenses ~> In addition to the expense deductions ii listed above, = you'a are’ ‘allowed: ‘your monthly expenses for

the following: IRS categories.

 

   

 

 

16.

Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12.
and subtract that number from the total monthly amount that is withheld to pay for taxes.

 

 

 

   

 

 

 

 

 

 

 

Do not include real estate, sales, or use taxes. : $ 1,200.00
17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
contributions, union dues, and uniform costs. .
/ Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings. $ 0.00
18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
filing together, include payments that you make for your spouse's term life insurance.
Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
of life insurance other than term. 45.00
19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
administrative agency, such as spousal or child support payments.
Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35. $ 200.00
20. Education: The total monthly amount that you pay for education that is either required:
ll as a condition for your job, or
MM for your physically or mentally challenged dependent child if no public education is available for similar services. $ 0.00
21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education. $ 0.00
22. Additional health care éxpenses, excluding insurance costs: The monthly amount that you pay for health care
that is required for the health and welfare of you or your dependents and that is not reimbursed by i insurance or paid
by a health savings account. Include only the amount that is more than the total entered in line 7.
Payments for health insurance or health savings accounts should be listed only in line 25. $ 0.00
23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
income, if it is not reimbursed by your employer.
Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted. 0.00
24, Add all of the expenses allowed under the IRS expense allowances. S$ 4,642.00
Add lines 6 through 23. :
Additional Ekpstoe pebesvetions These afe additional deductions allowed by the Means Test.
: re . : __ Note: Do'notin ludeany expense allowances listed i in lines O24, 7
25. Health insurance, “disability i insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
your dependents. .
Health insurance ; $ 0.00
Disability insurance : $ , 0.00
Health savings account + 0.00
Total $° 0.00 Copy total here=> $ 0.00
Do you actually spend this total amount?
Oo No. How much do you actually spend?
a Yes So
26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
your household or member of your immediate family who is unable to pay for such expenses, These expenses may
include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b) 0.00
27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
By law, the court must keep the nature of these expenses confidential. $ 0.00
Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 4

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Case: 19-14021 Doc:1_ Filed: 10/01/19 Page: 53 of 62

Debtrri1 Alexander Louis Bednar : . Case number (if known)

 

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
line 8.

If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then fill in the excess amount of home energy costs

You must give your case trustee documentation of your actual expenses, and you must show that the additional
_amount claimed is reasonable and necessary. $ 0.00

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
$170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
public elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount
claimed is reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment. $ __0.00

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
higher than.the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
than 5% of the food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate
instructions for this form. This chart may also be available at the bankruptcy clerk's office.

You must show that the additional amount claimed is reasonable and necessary. $ 0.00

31. ‘Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

Do not include any amount more than 15% of your gross monthly income. $ 0.00

 

32. Add all of the additional expense deductions. - : $ , 0.00
Add lines 25 through 31. :

 

 

 

 

 

 

E Deductions for Debt Payment.”

     

33. For debts that are secured by 2 an interest in property that you own, including h home , mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide by 60.

Mortgages on your home

 

 

 

33a. Copy line 9b here => = $ 0.00
Loans on your first two vehicles .

33b. Copy line 13b here . => $ 0.00

33c. Copy line 13e here . => § 0.00

 

33d . List other secured debts:

 

   
 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name: ofeach creditor for other secured debt. Identify property that secures the debt. 97. eS payment -
pe mE ee oo ae og include taxes. -
or insurance? ~
Ol No
-NONE- ; O Yes $
CO No
O Yes $
O No
O Yes + g¢
Copy
total -"
33e Total average monthly payment. Add lines 33athrough 33d $ 0.00 here=> $ 0.00
Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 5

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Debtor1 Alexander Louis Bednar . Case number (if known)

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?

HM No. Gotoline 35.

0 Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33, to keep possession of your property (called the cure amount).
Next, divide e by 60 and fill in the information below.

  
 

 

 

 

 

+60= $

 

 

 

 

 

 

 

 

 

 

Copy
total
Total | $- 0.00 [here=> $ 0.00
35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
O No. Go toline 36.
Hi Yes. Fill in the total amount of all of these priority claims. Do not include current or
, ongoing priority claims, such as those you listed in line 19. .
Total amount of ail past-due priority claims $ 129,500.00 +60 $ 2,158.33
36. Projected monthly Chapter 13 plan payment $ 800.00
Current multiplier for your district as stated on the list issued by the Administrative.
Office of the United States Courts (for districts in Alabama and North Carolina) or by
the Executive Office for United States Trustees (for all other districts). X 5.40
To find a list of district multipliers that includes your district, go online using the link specified in the
separate instructions for this form. This list may also be available at the bankruptcy clerk's office. . .
. Copy total
Average monthly administrative expense $ 43.20 [here=> $ 43.20
37. Add all of the deductions for debt payment. , $ 2,201.53
Add lines 33e through 36.

 

 

 

 

Total Deductions from i CON
38. Add all of the allowed deductions.

 

Copy line 24, Ail of the expenses allowed under IRS

 

 

 

 

 

 

 

 

expense allowances $ 4,642.00

Copy line 32, All of the additional expense deductions $ 0.00

Copy line 37, All of the deductions fordebt payment. +$ 2,201.53

Total MeductionS............ccesesssccesessssesseesssssssssuessanssssenstenseves $ 6,843.53 | Copy total here=> $ 6,843.53
Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 6

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Debtor 1 Alexander Louis Bednar , Case number (if known)

 

Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

 

39. Copy your total current monthly income from line 14: of Form 122C-1, Chapter 13
Statement of Your Current Monthly Income and Calculation of Commitment Period. —

$ 6,000.00

 

40. Fill in any reasonably necessary income you receive for support for dependent
children. The monthly average of any child support payments, foster care payments, or
disability payments for a dependent child, reported in Part | of Form 122C-1, that you
received in accordance with applicable nonbankruptcy law to the extent reasonably.
necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
employer withheld from wages as contributions for qualified retirement plans, as specifi ied
in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 114 U. s. C.§ 707(b)(2)(A). Copy line 38 here => §

43. Deduction for special circumstances. If special circumstances justify additional
expenses and you have no reasonable alternative, describe the special circumstances and
their expenses. You must give your case trustee a detailed explanation of the special
circumstances and documentation for the ‘expenses.

Describe thie special:circumstances See a oe Amountofexpefise:

 

 

$
$
$

 

 

 

 

 

 

 

6,843.53

“Copy
Total | $ 0.00 here=> $

0.00

0.00

0.00

 

44. Total adjustments. Add lines 40 through 43. . => |$

 

 

6,843.53

Copy
here=> =-$ 6,843.53

 

 

Change in Income or Expenses

wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    

45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.

46, Change in income or expenses. {f the income in Form 122C-1 or the expenses you reported in this form
have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
time your case will be open, fill in the information below. For example, if the wages reported increased after
you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the

 

 

$ -843.53

 

 

 

 

 

 

 

 

 

 

 

 

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Form Line : Date ofchange = Ane Amount of change: .. .
: : : ~ Ste bl sdecréase? ee on
D 122c-1 CZ increase
D1 122¢-2 DO Decrease $
0 122¢-1 C1 increase
DO 1220-2 C1 Decrease $
DO 122¢-1 Z increase
CO 1220-2 TC Decrease $
D 1220-1 C1 increase
D 1220-2 C1 Decrease $
Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 7

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Debtor1 Alexander Louis Bednar Case number (if known)

 

 

Sign Below

By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.

 

X /sf Alexander Louis Bednar,

Alexander Louis Bednar
Signature of Debtor 1

Date JSeip-44,2019
MM/DD /YYYY

 

 

 

 

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 8
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

Yip

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan -
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt _
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the

- Bankruptcy Code, the court may deny your

discharge.
You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

page 1

Best Case Bankruptcy
Case: 19-14021 Doc:1

most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers. ,

You may also be required to pay debts arising from:
fraud or theft;

fraud or defaication while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
'. enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

‘If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property, |
you must list iton Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 _ filing fee

ot $550 administrative fee .
$1,717 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of |
chapter 11 are too complicated to summarize briefly. -

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Read These Important Warnings

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy |
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not elig

necessary documents.

‘Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ible to file or if you do not intend to file the

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 _ total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 _ filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that

~ you owe them, usually using your future earnings. If

the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.
After you make all the payments-under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Best Case Bankruptcy

 
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Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file.a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit .
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With

‘limited exceptions, you must receive it within the 180

days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://justice. gov/usteo/hapcpa/ccde/cc_approved.html

In Alabama and North Carolina, go to:
hitp://Awww.uscourts.gov/FederalCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit

AndDebtCounselors.aspx.

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list. ;

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United States Bankruptcy Court
Western District of Oklahoma

 

 

Inre _ Alexander Louis Bednar . Case No.
' Debtor(s) Chapter 13

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

 

 

    

 

    

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Cp uae 2 Ce Ce a
Date: <dalystt.2019 isi Alexander Louis Bednar
Alexander Louis Bednar
Signature of Debtor
Date: JURE: Eze. ~ Sj enArhare
oO Signature of-Attorney
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